
NORTHCUTT, Judge.
Raymond Jones challenges his convictions for robbery with a firearm and attempted first degree murder stemming from an incident at a Burger King restaurant. We find no merit in his argument for reversal, and affirm his convictions. The trial court did err, however, in imposing a public defender’s lien without advising Mr. Jones of his right to a hearing to contest the amount of the lien, as required under Florida Rule of Criminal Procedure 3.720(d)(1). We remand this case with instructions that Mr. Jones be given thirty days to file a written objection to *117the amount of the lien. If he files an objection, the lower court must strike the lien and it may not impose a new assessment without notice and a hearing. Trice v. State, 655 So.2d 1270 (Fla. 2d DCA 1995); Bourque v. State, 595 So.2d 222 (Fla. 2d DCA 1992).
Convictions affirmed, remanded for further proceedings concerning the imposition of public defender’s fees.
THREADGILL, C.J., and SCHOONOVER, J., concur.
